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                     IN THE UNITED STATED DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §  Case No: 2:15-cv-01169-RWS-RSP
                                    §
vs.                                 §  LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendants.                   §
___________________________________ §
                                    §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §  Case No: 2:15-cv-01863-JRG-RSP
                                    §
vs.                                 §  CONSOLIDATED CASE
                                    §
FUHU, INC.                          §
                                    §
      Defendants.                   §
___________________________________ §
 .
                  ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this day, the Court considered Plaintiff Symbology Innovations, LLC’s motion to

dismiss without prejudice, in the lawsuit between Plaintiff Symbology Innovations, LLC

(“Symbology”) and Defendant Fuhu, Inc. Having considered the Motion and the pleadings in this

case, the Court is of the opinion that the Motion should be, and is hereby GRANTED.

       Therefore, IT IS ORDERED that all claims asserted by Symbology against Fuhu, Inc. are

hereby DISMISSED WITHOUT PREJUDICE, with each party to bear its own costs, attorneys’

fees and other litigation expenses.
         SIGNED this 3rd day of January, 2012.
        SIGNED this 22nd day of June, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
